 1                     IN THE UNITED STATES DISTRICT COURT
 2                   FOR THE WESTERN DISTRICT OF MISSOURI
 3                                   WESTERN DIVISION

 4 Michelle Harris,                               Case No.:
 5
                  Plaintiff,
 6
 7        vs.                                     COMPLAINT
 8
   National Credit Adjusters, L.L.C.,
 9 a foreign limited liability company,           JURY TRIAL DEMAND
10
                   Defendant.
11
12
13
14
          NOW COMES THE PLAINTIFF, MICHELLE HARRIS, BY AND THROUGH
15
16 COUNSEL, Richard M. Maseles, and for her Complaint against the Defendant, pleads
17 as follows:
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                                      JURISDICTION
19
20     1. This Court has jurisdiction under the Fair Debt Collection Practices Act
21
          (“FDCPA”), 15 U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.
22
23
24                                          VENUE
25     1. The transactions and occurrences that give rise to this action occurred in Kansas
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          City, Jackson County, Missouri.
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28     2. Venue is proper in the Western District of Missouri, Western Division.
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 1
 2
                                         PARTIES
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 4   3. Plaintiff is a natural person residing in Kansas City, Missouri.
 5   4. The Defendant to this lawsuit is National Credit Adjusters, L.L.C. which is a
 6
        foreign limited liability company that conducts business in the State of Missouri.
 7
 8
 9
                              GENERAL ALLEGATIONS
10
11   5. Defendant is attempting to collect a consumer type debt allegedly owed by

12      Plaintiff to “Cash for Whatever” (the name of the alleged creditor) in the
13
        amount of $503.00 (“the alleged Debt”).
14
15   6. Plaintiff disputes the alleged Debt.
16   7. On March 10, 2020, Plaintiff obtained her Equifax credit disclosure and noticed
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        Defendant reporting the alleged Debt.
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19   8. On or about April 17, 2020, Plaintiff sent Defendant a letter disputing the
20
        alleged Debt.
21
     9. On July 8, 2020, Plaintiff obtained her Equifax credit disclosure and noticed
22
23      Defendant last reported the tradeline reflected by the alleged Debt to June 12,
24
        2020, and failed or refused to flag its tradeline as disputed, in violation of the
25
26      FDCPA.
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 1   10.In the credit reporting industry, data furnishers, such as the Defendant,
 2
        communicate electronically with the credit bureaus.
 3
 4   11.Defendant had more than ample time to instruct Experian, Equifax, and Trans
 5      Union to flag its trade line as Disputed.
 6
     12.Defendant’s inaction to have its trade line on Plaintiff’s credit report flagged as
 7
 8      disputed was either negligent or willful.
 9
     13.Plaintiff suffered pecuniary and emotional damages as a result of Defendant’s
10
11      actions. Her credit report continues to be damaged due to the Defendant’s

12      failure to properly report the associated trade line.
13
14
15                                         COUNT I
16    VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
17
     14.Plaintiff reincorporates the preceding allegations by reference.
18
19   15.At all relevant times, Defendant, in the ordinary course of its business, regularly
20
        engaged in the practice of collecting debts on behalf of other individuals or
21
        entities.
22
23   16.Plaintiff is a “consumer” for purposes of the FDCPA, and the account at issue
24
        in this case is a consumer debt.
25
26   17.Defendant is a "debt collector" under the Fair Debt Collection Practices Act
27      ("FDCPA"), 15 U.S.C. §1692a(6).
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 1     18.Defendant’s foregoing acts in attempting to collect this alleged Debt violated 15
 2
           U.S.C. §1692e(8) by communicating to any person credit information, which is
 3
 4         known to be false or should be known to be false, including failure to report a
 5         disputed debt as disputed.
 6
       19.To date, and a direct and proximate cause of the Defendant’s failure to honor its
 7
 8         statutory obligations under the FDCPA, the Plaintiff has continued to suffer
 9
           from a degraded credit report and credit score.
10
11     20.Plaintiff has suffered economic, emotional, general, and statutory damages as a

12         result of these violations of the FDCPA.
13
           WHEREFORE, PLAINTIFF PRAYS that this Court grant her a judgment
14
15 against Defendant for actual damages, costs, interest, and attorneys’ fees.
16
17
                           DEMAND FOR JUDGMENT RELIEF
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19
       Accordingly, Plaintiff requests that the Court grant her the following relief against
20
21 the Defendant:
22     a. Actual damages;
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       b. Statutory damages;
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25     c. Statutory costs and attorneys’ fees.
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 1                                    JURY DEMAND
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          Plaintiff hereby demands a trial by Jury.
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 4
     DATED: September 25, 2020
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 6
                                               By: /s/Richard M. Maseles
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